Case 08-14631-GMB        Doc 424-1 Filed 06/27/08 Entered 06/27/08 13:07:11        Desc
                           Certificate of Service Page 1 of 2


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      Deputy Attorney General
      (609) 292-4966


                         UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

In re:                                        )      Chapter 11

SHAPRES/ARCH HOLDINGS L.L.C.                  )      Case No.: 08-14631(GMB)
et al.,
          Debtors.                            )      Hearing Date: July 8,
                                                     2008 at 9:00 a.m.


                           CERTIFICATE OF SERVICE


      Ramanjit K. Chawla hereby certifies and says:

           1.        I am employed as a Deputy Attorney General with the

Department of Law and Public Safety, Division of Law.

           2.        I   hereby     certify   that   on     June    27,    2008,    an

opposition      to       the   Debtors     Chapter     11     Plan,       was   filed

electronically,          and   if    the   following        are    not    registered

participants for electronic notice, I caused a true copy to be

served via U.S. mail:

      Honorable Gloria M. Burns, U.S.B.J.
      United States Bankruptcy Court
      District of New Jersey
      401 Market Street, P.O. Box 2067
      Camden, NJ 08101
Case 08-14631-GMB   Doc 424-1 Filed 06/27/08 Entered 06/27/08 13:07:11   Desc
                      Certificate of Service Page 2 of 2




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                                  By: /s/ Ramanjit K. Chawla
                                  Ramanjit K. Chawla
                                  Deputy Attorney General


Dated: 6/27/08
